Case 2:16-CV-00218-.]NP Document 2 Filed 03/16/16 Page 1 of 20

Ross C. Anderson (#0109)
randerson@lewishansen.com
James C. Lewis (#1943)
jlewis@lewishansen.com
LEWIS HANSEN

The Judge Building

Eight East Broadway, Suite 410
Sa.lt Lake City, Utah 84111
Telephone: (801) 746-630()
Fax: (801) 746-6301

Attorneysfor Plaintijj”

 

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

TERRY MI'I`CHELL,
COMPLAINT
Plaintiff,
JURY TRIAL DEMANDED

v.
RICHARD WARREN ROBERTS,

Defenda_nt. Case No.:

Judge:

 

 

Plaintiff Terry Mitchell (“Mitchell”) hereby complains against Defendant Richa;rd Warren

Roberts (“Roberts”) and, demanding trial by jury, alleges as follows:
JURISDICTION AND VENUE
l. This Court has federal diversity jurisdiction over Plaintiff’ s claims, pursuant to 28

U.S.C. § 1332, as the parties are diverse in citizenship and the amount in controversy exceeds

$75,000.

Case 2:16-CV-OO218-.]NP Document 2 Filed 03/16/16 Page 2 of 20

2. Venue in this Court is proper under 28 U.S.C. § 1391, as the events complained of

occurred in this judicial district.

PARTIES
3. Mitchell is and was at all material times a resident and citizen of the State of Utah.
4. Defendant Roberts is a resident and citizen of a state other than the State of Utah.
INTRODUCTION
5. This is an action for damages arising from a former federal prosecutor’s coercion

of, and outrageous maintenance of a predatory sexual relationship With, a sixteen-year-old witness
in a maj or lawsuit being prosecuted by the perpetrator.
FACTUAL BACKGROUND

6. On August 20, 1980, Joseph Paul Franklin (“Franklin”), who murdered more than
twenty people with the purpose of starting a race war, hunted and murdered Ted Fields (“Ted”)
and David Martin (“David”). Franklin killed Ted and David, who were African Americans,
because they were jogging and walking with Mitchell, who is half Latina and half Caucasian, and
Karma lngersoll (“lngersoll”), who is Caucasian. Franklin murdered Ted and David as they walked
together with Mitchell and lngersoll at the crosswalk of 900 South and 500 East in Salt Lake City,
Utah. Mitchell, then fifteen years old, was injured by shrapnel from bullets that killed David and
went through his body.

7. Mitchell was emotionally and physically isolated after the murders, leaving her
extremely vulnerable to a predator who pretended to be on her side, like Defendant Roberts. She
was the target of cruel and devastating attacks and accusations by the media, fellow students, and

others in the community. For instance:

Case 2:16-CV-00218-.]NP Document 2 Filed 03/16/16 Page 3 of 20

a. The news media reported misinformation and made false implications about
Mitchell and her father. The news media implied that Mitchell set up Ted and David to be murdered
and falsely characterized the relationship between lngersoll and Mitchell with Ted and David as
“girlfriends” and “boyfriends” (in at least one instance referring to Ted and David as the girls’
“black boyfriends”). The news media made irrelevant references to her father, who was president
of the Barons Motorcycle Club, which was a few blocks away from the crosswalk where the attack
occurred, implying that he Was involved in the murders The Salr Lake Trz'bune, outrageously,
published the address of Mitchell at least five times. Mitchell’s father left to live in Montana to
escape the public pressure caused by the implications by the news media that he was involved in
the murders. Following numerous verbal and physical threats against Mitchell, she feared that she
and her family would be attacked by people seeking vengeance for the deaths of Ted and David.

b. Family members of Ted and David, as well as many others, initially
suspected Mitchell, and she learned she was not welcome to attend the funerals held for Ted and
David.

c. Mitchell was ostracized by all of her friends, except her sister and mother,
despite previously being a popular and well-liked person who was an honor-roll student every year
of elementary, junior high school, and high school, “Miss Dream Girl” at Jordan Junior High, a
volunteer reading tutor for approximately five years, head cheerleader in junior high and high
school, and a member of the tennis team from elementary school until her sophomore year in high
school.

d. Mitchell was aware that her mother was harassed and bullied every day at
work, including being confronted in the restroom and having notes left at her desk blaming

Mitchell for the murders (including an article with words and phrases such as “It was the Barons

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 4 of 20

(a Salt Lake motorcycle club),” “hookers,” “girls set them up for it,” and “white bitches”
highlighted). Both Mitchell and her mother avoided eating and drinking so that they would not
have to use public restrooms and expose themselves to attack, which caused them both extreme
undesired and unhealthy weight loss.

e. Mitchell was harassed and degraded at school, where she found written on

75 GG 32 &i

her locker death threats and abusive language, including “nigger-loving whore, spic, race
traitor,” “murderer,” and “sniper girl.” She was frequently followed and threatened with being
physically attacked by students, both Black and White, in the restrooms, on the bus, at a party, at
a dance, at a shopping mall, and other locations

f. Mitchell’s younger sister, in second grade, was brutally attacked to the point
that pieces of her scalp lay on the floor. This event debilitated and terrified Mitchell, and she
blamed herself for its occurrence

g. Unidentified individuals drove by the homes ofMitchell’s parents with guns
pointed toward their windows. Mitchell called a police dispatcher who informed her, “Maybe you
should have thought about that before you hung out with those niggers. Call us if anything happens.
We’re busy.”

h. Mitchell was depicted by some as “white trash” and compared to prostitutes
for being accompanied by two Black males.

i. Several members of Mitchell’s family blamed her and denounced her for
befriending African Americans. She was told by some family members, “You should have known

better,” “They wouldn’t be dead if they weren’t with you,” “You got what you deserved,” and,

“Maybe now you’ll listen.”

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 5 of 20

j. Approximately two months prior to the murders, Mitchell was violently
raped by Phillip George Moore (“Moore”) at a location west of the Salt Lake City Intemational
Airport during a terrifying episode that lasted nearly four hours. She was able to provide the vehicle
registration of the rapist to the police the night of the crime, and Moore was soon identified and
arrested After the murders, the news media published details of the rape and suggested the killer
may have been the rapist who attempted to silence Mitchell but, as a result of bad aim, accidentally
shot and killed Ted and David.

8. Approximately one week after the murders Mitchell, wearing bandages from the
shrapnel injuries, attended a hearing against Moore. Moore pled guilty to raping Mitchell and to
raping another young girl while on bail after being charged of raping Mitchell.

9. ln October of 1980, Mitchell turned sixteen and fled to Arizona to live with her
patemal grandparents and avoid the domestic terror threats and lack of police protection She
experienced in Salt Lake City. Later that month, police captured Franklin. At some point in the
winter of 1980, Mitchell returned to Salt Lake City, where she met Defendant Roberts, who was
then 27 years old, and the other prosecuting attorneys for the federal civil rights case against

Franklin.

10. Through January or February of 1981, Mitchell had many meetings with Defendant
Roberts, either over the phone or with one or both of her parents present, to prepare for trial.
Defendant Roberts had access to Mitchell’s records with her counselor, Who was appointed by the
court as a result of her rape case. He also knew from disclosures to him by Mitchell of the extreme
isolation of, and threats against, Mitchell, as described in paragraph 7 above. At this point, Mitchell
had been raped and abused by several men, including her mother’s stepfather, from the time she

was a toddler.

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 6 of 20

ll. Defendant Roberts had knowledge of and assessed Mitchell’s vulnerabilities and
exploited them in interacting with her and gaining her trust. Defendant Roberts made it appear he
was understanding and sympathetic Defendant Roberts used his authority, his education, his
sophistication, and his affluence to make it appear to Mitchell, Mitchell’s mother, personnel in the
U.S. Attomey’s office, and others that he was safe and to be trusted with Mitchell.

12. Mitchell perceived Defendant Roberts as different than anyone she had previously
known: he was well-spoken, well-dressed, Well-educated, and seemingly very kind and
compassionate. Mitchell quickly trusted Defendant Roberts.

13. Around the end of.lanuary or the beginning of February of 1981 , Defendant Roberts
directed Mitchell’s mother to drive her to the federal courthouse for an in-person meeting to
prepare Mitchell as a Witness for the upcoming trial. Her mother drove Mitchell to the courthouse
and instructed Mitchell to hurry home to feed and take care of her younger sisters while their
mother was working The security guard notified Defendant Roberts of Mitchell’s arrival and
permitted her to enter the building When Mitchell arrived at Defendant Roberts’s office, photos
of Ted Martin and David Fields, bullet-ridden, bloody, and dead, were scattered over his desk.
Mitchell was stunned, further traumatized, and rendered extremely vulnerable while Defendant
Roberts cleared away the photos. The two of them discussed details of the case already covered in
previous meetings Mitchell noted they had already discussed the same matters before and asked
why he had wanted her to come to his office. Defendant Roberts conceded she was right and said
he would take her out to dinner. He asked her where they should go, but Mitchell was unable to
adequately answer because, due to her experience of poverty, she had not eaten at restaurants
unless she and her family worked there. She was concerned and confused about why he was taking

her to dinner, especially after she protested that she needed to go home to fix dinner for her sisters.

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 7 of 20

l-Iowever, she complied because Defendant Roberts was an authority figure and she had learned to
comply with those in positions of authority,

l4. Defendant Roberts chose a restaurant and sat next to Mitchell in a small booth
meant for two people to sit across from each other. After a while, Defendant Roberts placed his
hand on Mitchell’s thigh toward the end of dinner, confusing, upsetting, and alarming Mitchell.
She remained calm by telling herself that she was “making a big deal out of nothing” because she
still trusted and looked up to Defendant Roberts and she could not conceive at that point that
Defendant Roberts could be another predator in her life.

15. Mitchell assumed Defendant Roberts was going to take her home after the meal.
However, Defendant Roberts Said he needed to stop by his hotel to pick up something first and
that it would only take “a minute.” Mitchell responded that she did not live far from the hotel and
asked that he take her home first. Defendant Roberts insisted he stop by his hotel first.

16. After arriving at the hotel, Mitchell pleaded to wait in the car. Defendant Roberts
refused, saying it was too cold and that he was not going to leave her alone.

l7. Mitchell then asked if she could just go to the bus stop and take the bus home. At
that point, she was afraid, confused, and intimated, frantic about avoiding going to the hotel with
Defendant Roberts. Defendant Roberts opened her door and With a stern, frightening, and
authoritative voice said, “Terry get out of the car. Now!” Frightened, intimidated, sensing that
something very bad was happening yet wanting to believe that Defendant was not like the other
predators in her life, and not feeling she had a choice, Mitchell complied and got out of the car and
walked to the hotel lobby with Defendant Roberts.

18. Mitchell then requested to wait for Defendant Roberts in the lobby. Defendant

Roberts adamantly refused, saying that it would seem strange to people if they saw her waiting in

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 8 of 20

the hotel lobby. Mitchell’s suspicions, panic, fear, intimidation, and sense of alarm increased even
further at that point,

19. When Mitchell and Defendant Roberts reached his hotel room door, Mitchell,
extremely fearful and panicking, requested to wait outside his room in the hallway. Defendant
Roberts refused and stemly insisted she enter his room, making it seem he thought she was being
ridiculous in wanting to wait in the hall. He said it would look bad to others if Mitchell were
waiting in the hallway outside his door. Mitchell believed she had no choice and that her refusal
would make a very frightening and confusing situation worse.

20. When he finally had Mitchell in his hotel room, Defendant Roberts locked the door,
took off her jacket, began kissing her neck, and said, “You aren’t going anywhere until l get a taste
of you.” Mitchell was terrified and shocked. She replied that she was “not ready for this.” Mitchell
made it clear she did not consent to any sexual contact with Defendant Roberts. lntimidated,
confused, dissociated, and clearly never consenting Mitchell realized_like she had many times
since being a toddler_that sex was going to happen whether she liked it or not and that fighting
back would only prolong the agony of sex abuse and the accompanying shame, humiliation, and
terror. Every time Mitchell said anything to protest, Defendant kissed her as if his sexual abuse
were somehow a romantic seduction.

21. Defendant Roberts then took off Mitchell’s clothing He carried her to the bed. He
then performed oral sex on her and demanded that she perform oral sex on him. He then raped her
twice. Mitchell was not given a choice and was ignored when she communicated verbally and
physically, that she did not consent Defendant Roberts took Mitchell home at approximately 10:00

or 11:00 pm.

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 9 of 20

22. Defendant Roberts did not use violence or a deadly weapon and, unlike some of
Mitchell’s previous experiences of rape, she was not beaten, smothered, choked, bitten, spit on,
bloodied, or bruised. lnstead, Defendant Roberts exploited the psychological and emotional
vulnerabilities of sixteen-year-old Mitchell who, as Defendant Roberts well knew, had experienced
a lifetime of sexual abuse, grooming, violence, and rape, including a violent, four-hour-long rape
just six months earlier, the murder of her two friends as they walked beside her just five months
earlier, and tremendous trauma and physical and emotional isolation

23. Defendant Roberts maintained the secrecy of his abuse by using intimidation,
deception, artifice, and the coercive, victim-blaming threat to Mitchell that if anyone discovered
Defendant Roberts was engaging in sex acts with Mitchell then a mistrial in the Franklin case
would occur. That threat continued for months after the trial, communicated repeatedly by
Defendant Roberts in telephone conversations initiated by Defendant Roberts with Mitchell. Based
on Defendant Roberts’s assertions that people would see it as Mitchell’s fault, and because of her
prior horrendous experiences with the news media and with members of the community, Mitchell
believed that she would be blamed if there were a mistrial and Franklin walked away after
murdering her friends, enabling him to continue his murderous, racist campaign Mitchell felt
immense guilt for surviving the attack that killed her friends. She blamed herself for the attack and
everything that followed Mitchell was terrified by Franklin and did not want anyone else to die or
suffer.

24. When presenting the testimony of a witness, a prosecutor has the duty to avoid any
actual, or even the appearance of, personal bias. Perhaps the most outrageous violation of that duty

would be to have sex with a major eyewitness of the case, particularly a young girl who was as

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 10 of 20

vulnerable as Mitchell. Defendant Roberts used his own astoundingly inappropriate conduct as a
threat against Mitchell to ensure her submission and silence.

25. Defendant Roberts continued to manipulate and control Mitchell for his own
sexual, emotional, and ego gratification throughout the rest of his stay in Salt Lake City before,
during, and shortly after the trial. Defendant Roberts convinced Mitchell that his continued child
sexual abuse of her was somehow her fault. He said at times, after placing Mitchell naked in front
of a mirror, that he could not stop himself because of how attractive Mitchell was.

26. Defendant Roberts sought to characterize his continued child sexual abuse of
Mitchell as an “affair,” even to the point of representing to Mitchell that he might end his then-
pending engagement to be married so that he could be with Mitchell.

27. Defendant Roberts intimidated, coerced, and manipulated Mitchell to have sexual
intercourse nearly every day for several weeks. Defendant Roberts’s routine was to pick Mitchell
up from home or the courthouse, then take her to dinner, then to his hotel room. At the hotel room,
among other things, he would strip Mitchell and often angle the mirror so he could watch himself
having sex and watch himself being interviewed about the trial at the same time. lt was all very
creepy and disturbing to Mitchell.

28. The last day Defendant Roberts was in Utah, he met with Mitchell and took photos
of her, clothed and naked, with his Polaroid camera He gave her the photos of herself with her
clothes on and kept nude photos of her for himself

29. Franklin was convicted and Roberts left Utah in March of 1981. Defendant Roberts
has never returned to Utah since that time and has “depart[ed] from the state” within the meaning

of the statute of limitations tolling provision then in effect, Utah Code Ann. § 78-12-35.

10

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 11 of 20

30. After Defendant Roberts left Utah, and before attaining the age of eighteen,
Mitchell repressed all memory of the physical, sexual, and emotional abuse by Defendant Roberts.
After reaching the age of 18, Mitchell only discovered the fact of Roberts’s child sexual abuse of
her at some point after the execution of Franklin on November 20, 2013.

31. On November 20, 2013, hours after the execution of Franklin, Defendant Roberts
sent two emails to Mitchell after many years of no communications between them. This event
triggered the beginning of the release of Mitchell’s memories about her abuse by Defendant
Roberts. Mitchell has been in counseling since 1980, during which there was no mention of the
abuses by Defendant Roberts before her recollections in late 2013.

32. Mitchell suffered, and continues to suffer, physical pain, muscle spasms, cluster
migraines, suicidal ideations, night terrors, sleep walking difficulties with comprehension (such
as short, periodic difficulties in understanding what people are saying), anorexia, nausea, immense
emotional distress, detrimental impacts on relationships, anxiety, depression, trauma, post-
traumatic stress disorder, anger, distrust, and counseling and medical expenses, and, in addition,
Mitchell dropped out of high school, resulting in a tragic end to her remarkable record as a student
and in a significant decrease in her earnings and earning capacity, as a result of the outrageous
abuses of power and influence Defendant Roberts exercised over her, his multiple rapes, and his
sexual and emotional exploitation of Mitchell.

FIRST CLAIM FOR RELIEF
ASSA ULT

33. Mitchell re-alleges and incorporates by reference the factual allegations above as

if set forth fully herein.

ll

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 12 of 20

34. Defendant Roberts repeatedly, over a several week period during and before the
trial of Franklin, indicated by his words and actions that he was going to cause harmful and
offensive contact with Mitchell and did in fact cause such harmful and offensive contact and child
sexual abuse, within the meaning of the term in Utah Code Ann. § 78B-2-308, including but not
limited to kissing her, stripping her, performing oral sex on her, demanding she perform oral sex
on him, and having sexual intercourse with her.

35. Defendant Roberts, by the acts set forth above, intended to cause harmful and
offensive contact with Mitchell and intended to put Mitchell in imminent apprehension of harmful
or offensive contact, including child sexual abuse.

36. Defendant Roberts, by the acts set forth above, put Mitchell in imminent
apprehension of harmful or offensive contact, including child sexual abuse, by Defendant Roberts.

37. As a proximate and direct result of Defendant Roberts’s actions, Mitchell suffered
and continues to suffer damages including physical pain, muscle spasms, cluster migraines,
suicidal ideations, night terrors, sleep walking, difficulties with comprehension (such as short,
periodic difficulties in understanding what people are saying), anorexia, nausea, immense
emotional distress, detrimental impacts on relationships, anxiety, depression, trauma, post-
traumatic stress disorder, anger, distrust, and counseling and medical expenses, and, in addition,
Mitchell dropped out of high school, resulting in a tragic end to her remarkable record as a student
and in a significant decrease in her earnings and earning capacity.

38. Mitchell is entitled to recover from Defendant Roberts all damages sustained by
her as a proximate and direct result of Defendant Roberts’s conduct, including but not limited to,

the damages described above, in a total amount to be shown at trial of at least fifteen million

dollars.

12

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 13 of 20

39. Defendant Roberts’s conduct was willful and malicious, and manifested a knowing
and reckless indifference toward, and disregard of, the rights of Mitchell. Therefore, Mitchell is
entitled to an award of punitive damages from and against Defendant Roberts of no less than ten
million dollars.

SECOND CL_}_\IM F()R RELIEF
BA TTERY

40. Mitchell re-alleges and incorporates by reference the factual allegations above as if
set forth fully herein.

41. Defendant Roberts repeatedly, over a several week period during and before the
trial of Franklin, intended to cause harmful and offensive contact with Mitchell and did in fact
cause such harmful and offensive contact and child sexual abuse, including but not limited to
kissing her, stripping her, performing oral sex on her, demanding she perform oral sex on him, and
having sexual intercourse with her.

42. As a proximate and direct result of Defendant Roberts’s actions, Mitchell suffered
and continues to suffer damages including physical pain, muscle spasms, cluster migraines,
suicidal ideations, night terrors, sleep walking, difficulties with comprehension (such as short,
periodic difficulties in understanding what people are saying), anorexia, nausea, immense
emotional distress, detrimental impacts on relationships, anxiety, depression, trauma, post-
traumatic stress disorder, anger, distrust, and counseling and medical expenses, and, in addition,
Mitchell dropped out of high school, resulting in a tragic end to her remarkable record as a student
and in a significant decrease in her earnings and earning capacity,

43. Mitchell is entitled to recover from Defendant Roberts all damages sustained by

her as a proximate and direct result of Defendant Roberts’s conduct, including, but not limited to,

13

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 14 of 20

the damages described above, in a total amount to be shown at trial of at least fifteen million
dollars.

44. Defendant Roberts’s conduct was willful and malicious, or manifests a knowing
and reckless indifference toward, and disregard of, the rights of Mitchell, and therefore she is
entitled to an award of punitive damages from and against Defendant Roberts of no less than ten
million dollars

THIRD CLAIM FOR RELIEF
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

45. Mitchell re-alleges and incorporates by reference the factual allegations above as if
set forth fully herein.

46. Defendant Roberts, through his position as an attorney for the Department of Justice
and through his words and behavior, represented to Mitchell, to her mother, and to the public that
he would fulfill his duty to uphold justice and posed no threat to Mitchell.

47. Defendant Roberts knew that, as a result of Franklin’s horrifying attack and her
history of abuse, Mitchell suffered extreme guilt, shame, isolation, distress, fear, and a sense of
powerlessness.

48. Defendant Roberts, while prosecuting a major lawsuit against Franklin, preyed on
one of Franklin’s victims and for several weeks raped Mitchell. Defendant Roberts used
intimidation, deception, coercion, manipulation, artifice, and knowledge of Mitchell’s personal
history as a vulnerable victim of abuse to gain her trust, isolate her, and sexually abuse her.

49. Defendant Roberts exploited the vulnerabilities of Mitchell, whom he knew to be
a recent victim of Franklin’s attack that killed her two friends; a recent victim of a violent rape; a

victim of rape, sexual abuse, and incest since she was a toddler; a recent target of the media;

14

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 15 of 20

ostracized by the community and her friends; impoverished; and only sixteen years old. Defendant
Roberts used knowledge of Mitchell’s vulnerability and past victimization, not as an inspiration
for compassion, sympathy, or pursuit of justice, but as an avenue to gain her trust, and thus access
to personally perpetuate her long experience of rape and child sexual abuse simply to satisfy his
own selfish and predatory sexual, emotional, and egotistical desires.

50. Defendant Roberts maintained the secrecy of his predatory behavior by using his
education and authority to convince Mitchell that the abuse was her fault and that her submission
and silence regarding his predatory behavior was required if the man who murdered her two friends
when she was with them was not to walk free and continue his racist murder spree. Defendant
Roberts caused Mitchell to believe that her disclosure of Defendant Roberts’s multiple rapes of
Mitchell and other predatory behavior, including acts of child sexual abuse, toward her would pose
a mortal threat to her and others.

51. Defendant Roberts knew his intimidation, deception, manipulation, coercion, and
control of Mitchell would cause devastating, irreparable emotional harm to Mitchell, who trusted
him to be compassionate, humane, and just.

52. In all of his conduct toward Mitchell, Defendant Roberts exploited Mitchell’s
psychological and emotional vulnerability, not only as a lifelong victim of atrocious abuse and
violence, but even simply as a vulnerable sixteen-year-old child.

53. Defendant Roberts’s conduct toward Mitchell was outrageous, intolerable, and
offends against the generally accepted standards of decency and morality.

54. Defendant Roberts intended to cause, and acted in reckless disregard of the

likelihood of causing, emotional distress of Mitchell.

15

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 16 of 20

55. As a proximate and direct result of Defendant Roberts’s actions, Mitchell suffered
and continues to suffer damages including physical pain, muscle spasms, cluster migraines,
suicidal ideations, night terrors, sleep walking difficulties with comprehension (such as short,
periodic difficulties in understanding what people are saying), anorexia, nausea, immense
emotional distress, detrimental impacts on relationships, anxiety, depression, trauma, post-
traumatic stress disorder, anger, distrust, and counseling and medical expenses, and, in addition,
Mitchell dropped out of high school, resulting in a tragic end to her remarkable record as a student
and in a significant decrease in her earnings and earning capacity.

56. Mitchell is entitled to recover from Defendant Roberts all damages sustained by
her as a proximate and direct result of Defendant Roberts’s conduct, including, but not limited to,
the damages described above, in a total amount to be shown at trial of at least fifteen million
dollars.

57. Defendant Roberts’s conduct was willful and malicious, or manifests a knowing
and reckless indifference toward, and disregard of, the rights of Mitchell. Therefore, Mitchell is
entitled to an award of punitive damages from and against Defendant Roberts of no less than ten

million dollars.

FOURTH CLAIM FOR RELIEF

 

NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

58. Mitchell re-alleges and incorporates by reference the factual allegations above as if

set forth fully herein.

59. Defendant Roberts knew and should have known that, as a result of Franklin’s
horrifying attack and Mitchell’s history of abuse, Mitchell suffered extreme guilt, shame, isolation,

distress, fear, and powerlessness.

16

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 17 of 20

60. Defendant Roberts knew and should have known that Mitchell was a recent victim
of Franklin’s attack that killed her two friends; a recent victim of a violent rape; a victim of rape,
sexual abuse, and incest since she was a toddler; a recent target of the media; ostracized by the
community and her friends; impoverished; and a sixteen-year-old child.

61. Defendant Roberts knew and should have known that Mitchell trusted him,
especially as an attorney for the Department of Justice, to be compassionate, humane, and just.

62. Defendant Roberts realized and should have realized that his conduct of deception,
manipulation, intimidation, coercion, artifice, rape, and child sexual abuse involved an
unreasonable risk of causing extreme emotional distress to Mitchell.

63. Defendant Roberts should have realized from facts known to him that the distress
to Mitchell could result in illness or bodily harm.

64. As a proximate and direct result of Defendant Roberts’s actions, Mitchell suffered
and continues to suffer damages including physical pain, muscle spasms, cluster migraines,
suicidal ideations, night terrors, sleep walking, difficulties with comprehension (such as short,
periodic difficulties in understanding what people are saying), anorexia, nausea, immense
emotional distress, detrimental impacts on relationships, anxiety, depression, trauma, post-
traumatic stress disorder, anger, distrust, and counseling and medical expenses, and, in addition,
Mitchell dropped out of high school, resulting in a tragic end to her remarkable record as a student
and in a significant decrease in her earnings and earning capacity,

65. Mitchell is entitled to recover from Defendant Roberts all damages sustained by
her as a proximate and direct result of Defendant Roberts’s conduct, including, but not limited to,

the damages described above, in a total amount to be shown at trial of at least fifteen million

dollars.

17

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 18 of 20

66. Defendant Roberts acted with knowing and reckless indifference toward, and
disregard of, the rights of Mitchell. Therefore, Mitchell is entitled to an award of punitive damages
from and against Defendant Roberts of no less than ten million dollars.

FIFTH CLAIM FOR RELIEF
SEXUAL ABUSE OFA CHILD

67. Mitchell re-alleges and incorporates by reference the factual allegations above as
if set forth fully herein.

68. Mitchell was under eighteen years of age at all times during which Defendant
Roberts committed the child sexual abuse against Mitchell, within the meaning of Utah Code
Ann. § 78B-2~308, including acts of sexual intercourse, sodomy, and molestation.

69. Defendant Roberts was 27 years old at all times during which Defendant Roberts
committed the child sexual abuse against Mitchell, within the meaning of Utah Code Ann. §
78B-2-308, including acts of sexual intercourse, sodomy, and molestation.

70. Defendant Roberts’s acts of child sexual abuse were committed with the intent to
arouse and gratify the sexual desires of Defendant Roberts.

71. Defendant Roberts’s acts of sexual intercourse, sodomy, and molestation
constitute sexual abuse of a child as defined by Utah Code § 78B-2-308.

72. As a proximate and direct result of Defendant Roberts’s actions, Mitchell suffered
and continues to suffer damages including physical pain, muscle spasms, cluster migraines,
suicidal ideations, night terrors, sleep walking, difficulties with comprehension (such as short,
periodic difficulties in understanding what people are saying), anorexia, nausea, immense
emotional distress, detrimental impacts on relationships, anxiety, depression, trauma, post-

traumatic stress disorder, anger, distrust, and counseling and medical expenses, and, in addition,

18

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 19 of 20

Mitchell dropped out of high school, resulting in a tragic end to her remarkable record as a student
and in a significant decrease in her earnings and earning capacity,

73. Mitchell is entitled to recover from Defendant Roberts all damages sustained by
her as a proximate and direct result of Defendant Roberts’s conduct, including, but not limited to,
the damages described above, in a total amount to be shown at trial of at least fifteen million
dollars

74. Defendant Roberts acted with knowing and reckless indifference toward, and
disregard of, the rights of Mitchell. Therefore, Mitchell is entitled to an award of punitive

damages from and against Defendant Roberts of no less than ten million dollars.

PRAYER FOR RELIEF
WHEREFORE, pursuant to the claims for relief set forth herein above, plaintiff is entitled
to: (1) judgement against Defendant Roberts, for all general and special damages in an amount to
be determined at trial, but no less than fifteen million dollars, (2) punitive damages against
Defendant Roberts in an amount to be determined at trial, (3) an award against Defendant Roberts
of all reasonable attorneys fees and costs incurred by plaintiff in this matter, and (4) all further

relief as deemed just and equitable

19

Case 2:16-cV-00218-.]NP Document 2 Filed 03/16/16 Page 20 of 20

MHB
Plaintiff hereby demands a trial by jury on all of her claims.
DATED this 16th day of March, 2016.

LEWIS HANSEN

/s/ Ross C. Anderson
Ross C. Anderson
Attorneys for Plaintiff

20

